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AO 2458 (SDlL Rev. 7/21) Judgment in a Criminal Case


                               UNITED STATES DISTRICT COURT
                                            Southern District of Illinois
                                                         )
      UNITED STATES OF AMERJCA                           )      JUDGMENT IN A CRIMINAL CASE
                                                         )
                         v.                              )      Case Number: 4:20-CR-40060-JPG-1
                                                         )
                                                                USM Number: 14750-025
                                                         )
           EVAN JAY CARRIER
                                                         )
                                                         )      JUDITH A. KUENNEKE
                                                                Defendant's Attorney

THE DEFENDANT:

IZI   pleaded guilty to count(s) 1 of the Indictment
D     pleaded nolo contendere to count(s)
      which was accepted by the court.
D     was found guilty on count(s)
      after a plea of not gu.ilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                              Offense Ended   Count
18 U .S.C. § 2422(b)          Attempted Enticement of a Minor                                7/6/2020          I

       The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

D     The defendant has been found not guilty on count(s)
D     Count(s)    D is Dare dismissed on the motion of the United States.

0     No fine          O Forfeiture pursuant to order filed , included herein.
D     Forfeiture pursuant to Order of the Cowt. See page for specific prope1ty details.
        It is ordered that the defendant shall notify the United States attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. lf ordered to pay restitution, the defendant shall notify the com1 and
United States attorney of any material change in the defendant' s economic circumstances.

                                                             July 20, 2021
Restitution and/or fees may be paid to:                      Date of lm~os;t~                nt
Clerk, U.S. District Court*
750 Missouri Ave.
East St. Louis, IL 6220 I
                                                              ' gnature of Judge
*Checks payable to: Clerk, U. S. District Court              J. Phil Gilbert, U.S. District Judge
                                                             Name and Title of Judge

                                                             Date Signed:    1- J.../ r ~ OJ.. I
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                                                       IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be
imprisoned for a total term of: 120 months on Count 1 of the Indictment.


•     The court makes the following recommendations to the Bureau of Prisons:

•     The defendant is remanded to the custody of the United States Marshal.
•     The defendant shall surrender to the United States Marshal for this district:
      D at _ _ _ _ _ _ _ _ Da.m.               p.m. on •
      • as notified by the United States Marshal.

181   The defendant shall surrender for service of sentence at the institution designated by the Bureau of
      Prisons:
      •  before 2 p.m. on
      181 as notified by the United States Marshal.
      •   as notified by the Probation or Pretrial Services Office.

                                                           RETURN
I have executed this judgment as follows:

          Defendant delivered on _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ __

at _ _ _ _ _ _ _ _ _ _~ with a certified copy of this judgment




                                                              UNITED STATES MARSHAL


                                                            B y---------------
                                                             DEPUTY UNITED STATES MARSHAL
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                                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:
8 years on Count 1 of the Indictment.

Other than exceptions noted on the record at sentencing, the Court adopts the presentence report in its
current form, including the suggested terms and conditions of supervised release and the explanations
and justifications therefor.

                                                MANDATORY CONDITIONS
The following conditions are authorized pursuant to 18 U.S. C. § 3583 (d):

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The mandatory drug testing
condition is suspended, as the defendant poses a low risk of future substance abuse.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant must comply with the requirements of the Sex Offender Registration and Notification Act
(34 U.S.C. § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex
offender registration agency in the location where the defendant resides, works, is a student, or was
convicted of a qualifying offense.

                                            ADMINISTRATIVE CONDITIONS
The following conditions of supervised release are administrative and applicable whenever supervised
release is imposed, regardless of the substantive conditions that may also be imposed These conditions
are basic requirements essential to supervised release.

The defendant must report to the probation office in the district to which the defendant is released within
seventy-two hours of release from the custody of the Bureau of Prisons.

The defendant shall not knowingly possess a firearm, ammunition, or destructive device. The defendant
shall not knowingly possess a dangerous weapon unless approved by the Court.

The defendant shall not knowingly leave the federal judicial district without the permission of the Court
or the probation officer.

The defendant shall report to the probation officer in a reasonable manner and frequency directed by the
Court or probation officer.

The defendant shall respond to all inquiries of the probation officer and follow all reasonable
instructions of the probation officer.
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The defendant shall notify the probation officer prior to an expected change, or within seventy-two
hours after an unexpected change, in residence or employment.

The defendant shall not knowingly meet, communicate, or otherwise interact with a person whom the
defendant knows to be engaged, or planning to be engaged, in criminal activity.

The defendant shall permit a probation officer to visit the defendant at a reasonable time at home or at
any other reasonable location and shall permit confiscation of any contraband observed in plain view of
the probation officer.

The defendant shall notify the probation officer within seventy-two hours of being arrested or
questioned by a law enforcement officer.

                                                       SPECIAL CONDITIONS
Pursuant to the factors in 18 U.S.C. § 3553(a) and 18 U.S.C. § 3583(d), the following special conditions
are ordered While the Court imposes special conditions, pursuant to 18 U.S.C. § 3603(10), the
probation officer shall perform any other duty that the Court may designate. The Court directs the
probation officer to administer, monitor, and use all suitable methods consistent with the conditions
specified by the Court and 18 U.S.C. § 3603 to aid persons on probation/supervised release. Although
the probation officer administers the special conditions, final authority over all conditions rests with the
Court.

The defendant shall participate in mental health services, which may include a mental health assessment
and/or psychiatric evaluation, and shall comply with any treatment recommended by the treatment
provider. This may require participation in a medication regimen prescribed by a licensed practitioner.
The defendant shall pay for the costs associated with services rendered, based on a Court approved
sliding fee scale and the defendant's ability to pay. The defendant's financial obligation shall never
exceed the total cost of services rendered. The Court directs the probation officer to approve the
treatment provider and, in consultation with a licensed practitioner, the frequency and duration of
counseling sessions, and duration of treatment, as well as monitor the defendant's participation, and
assist in the collection of the defendant's copayment.

While any financial penalties are outstanding, the defendant shall provide the probation officer and the
Financial Litigation Unit of the United States Attorney's Office any requested financial information. The
defendant is advised that the probation office may share financial information with the Financial
Litigation Unit.

While any financial penalties are outstanding, the defendant shall apply some or all monies received, to
be determined by the Court, from income tax refunds, lottery winnings, judgments, and/or any other
anticipated or unexpected financial gains to any outstanding court-ordered financial obligation. The
defendant shall notify the probation officer within 72 hours of the receipt of any indicated monies.

 The defendant shall pay any financial penalties imposed which are due and payable immediately. If the
defendant is unable to pay them immediately, any amount remaining unpaid when supervised release
commences will become a condition of supervised release and be paid in accordance with the Schedule
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of Payments sheet of the judgment based on the defendant's ability to pay.

The defendant's person, residence, real property, place of business, vehicle, and any other property under
the defendant's control is subject to search, by any United States Probation Officer and other such law
enforcement personnel as the probation officer may deem advisable and at the direction of the United
States Probation Officer, at a reasonable time and in a reasonable manner, based upon reasonable
suspicion of contraband or evidence of a violation of a condition of release, without a warrant. Failure to
submit to such a search may be grounds for revocation. The defendant shall inform any other residents
that the premises and other property under the defendant's control may be subject to a search pursuant to
this condition.

The defendant shall cooperate with the U.S. Probation/Pretrial Services Office Computer and Internet
Monitoring Program. Cooperation shall include, but is not limited to, identifying computer systems,
internet capable devices, networks (routers/modems), and/or similar electronic devices (external hard
drives, flash drives, etc.) to which the Defendant has access. All devices are subject to random
inspection/search, configuration, and the installation of monitoring software and/or hardware. The
defendant's financial obligation shall never exceed the total cost of services rendered. The defendant
shall pay all or a portion of the costs of participation in the Computer and Internet Monitoring Program
based on the defendant's ability to pay.

The defendant shall inform all parties who access approved computer(s) or similar electronic device(s)
that the device(s) is subject to search and monitoring. The defendant may be limited to possessing only
one personal computer and/or internet capable device to facilitate the ability to effectively monitor
internet-related activities.

The defendant shall report any and all electronic communication service accounts utilized for user
communications, dissemination, and/or storage of digital media files (i.e., audio, video, images,
documents, device backups) to the U.S. Probation/Pretrial Services Office. This includes, but is not
limited to, email accounts, social media accounts, and cloud storage accounts. The defendant shall
provide each account identifier and password, and shall report the creation of new accounts. Changes in
identifiers and/or passwords, transfer, suspension and/or deletion of any account shall be reported within
five days of such action. The defendant shall permit the U.S. Probation/Pretrial Services Office to access
and search any account(s).

The defendant shall participate in an approved sexual offender treatment program. If deemed necessary,
the defendant shall submit to an approved, sexual-predator evaluation. The defendant shall abide by all
rules, requirements, and conditions of the treatment program, including submission to polygraph
examination to determine compliance with the conditions of supervision. The defendant shall remain in
the program until successfully completed, or until such time as the defendant is released from the
program by the Court and/or probation officer. The defendant shall pay for the costs associated with
services rendered, based on a Court-approved sliding fee scale and the defendant's ability to pay. The
defendant's financial obligation shall never exceed the total cost of services rendered. The Court directs
the probation officer to approve the treatment provider and, in consultation with a licensed practitioner,
the frequency and duration of counseling sessions, and the duration of treatment, as well as monitor the
defendant's participation, and assist in the collection of the defendant's copayment.

If successfully terminated from sex offender counseling prior to expiration of supervised release, the
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defendant shall submit to polygraph examinations, not to exceed three in a one-year period, as directed
by the probation officer.

U.S. Probation Office Use Only

A U.S. Probation Officer has read and explained the conditions ordered by the Court and has provided me with a complete
copy of this Judgment. Further information regarding the conditions imposed by the Court can be obtained from the
probation officer upon request.

Upon a finding of a violation of a condition(s) of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.


Defendant's Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             Date _ _ _ _ _ _ _ _ _ __



U.S. Probation Officer                                                           Date
                          ----------------                                              -----------
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                                         CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments on
Sheet 6.

                   Assessment             Restitution         Fine                  AVAA Assessment*            JVTA Assessment**
TOTALS             $100.00               $-0-                 $250.00               $-0-                        $-0-

•     The determination of restitution is deferred until _ _ . An Amended Judgment in a Criminal Case
      (AO 245C) will be entered after such determination.
•     The defendant must make restitution (including community restitution) to the following payees in
      the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment column
below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
States is paid.
                                                                                                                        Priority or
Name of Payee                                           Total Loss***                      Restitution Ordered          Percentage


•     Restitution amount ordered pursuant to plea agreement $_ _ _ _ _ _ __
•     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution
      or fine is paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
      3612(f). All of the payment options on Sheet 6 may be subject to penalties for delinquency and
      default, pursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered
      that:
      1.81 the interest requirement is waived for 1.81 fine             •
                                                              restitution.
      D the interest requirement for D fine D restitution is modified as follows:


• Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
•• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                                                 SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as
follows:

A.   •   Lump sum payment of$_ _ _ _ due immediately, balance due
          •  not later than
                                ------          or
          •  in accordance      • • •
                               C,     D,                 •
                                             E, or F below; or
B.   ~ Payment to begin immediately (may be combined with          C,      •       •
                                                                         D or 181 F below; or
C.   •   Payment in equal ___ (e.g., weekly, monthly, quarterly) installments of$_ _ _ over a
     period of _ _ (e.g., months or years), to commence _ _ _ (e.g., 30 or 60 days) after the date
     of this judgment; or
D.   •   Payment in equal _ _ _ (e.g., weekly, monthly, quarterly) installments of$_ _ _ _ over a
     period of_ _ _ _ (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after
     release from imprisonment to a term of supervision; or
E.   •   Payment during the term of supervised release will commence within _ _ _ _ (e.g., 30 or 60
     days) after release from imprisonment. The court will set the payment plan based on an assessment
     of the defendant's ability to pay at that time; or
F.   IZI Special instructions regarding the payment of criminal monetary penalties:
         All criminal monetary penalties are due immediately and payable through the Clerk, U.S.
         District Court. Having assessed the defendant's ability to pay, payment of the total criminal
         monetary penalties shall be paid in equal monthly installments of $20 or ten percent of his
         net monthly income, whichever is greater. The defendant shall pay any financial penalty
         that is imposed by this judgment and that remains unpaid at the commencement of the term
         of supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are
made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

•     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total
      Amount, Joint and Several Amount, and corresponding payee, if appropriate.
•     The defendant shall pay the cost of prosecution.
•     The defendant shall pay the following court cost(s):
D The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.
